Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 1 of 28




            EXHIBIT 185
            REDACTED
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 2 of 28




           Re: Tracking of chapters SOC for information
           From:
           To:
           Cc:



           Date:     Thu, 19 Aug 2021 16:26:09 -0400

           Thank= that is very helpful to know that you are on board. I really want to push this agenda
           forward VERY STRONGLY. At the end of the day the SOC8 will significantly improve the lives of
           millions of trans people and their families globally.

           I am meeting with Rachel Levine and her team next week, as the US Department of Health is very
           keen to bring the trans health agenda forward. I want to make absolutely sure that the commitments
           we make on behalf of WPATH are real and achievable, so I am counting on you. I know thatM and
           =are fully on board as they explicitly vocalised their commitment in Gothenburg. Unfortunately, you
           chose not to be there.

           Warmly,




           On 2021-08-19 18:26,               wrote:




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                                                             1
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 3 of 28




            yes we may need board pressure - and support if we have to be more assertive with chapter leads
            or to ask them to step aside.

            On Thu, Aug 19, 2021 at 12:25 PM                                                      wrote:

              Dear.

              Thank you - that is very re-assuring. I must honestly say that we are running out of time and the
              Board will take all necessary steps to ensure that we are going to deliver the SOC8; we need all
              hands on deck!

              Thank you,




              On 2021-08-19 18:15,wrote:

               Dear

               Yes we are drafting a letter to all and will summarize the steps to completion.
               There is no reason that people cannot complete their sections - and we are prepared to take
               over - or remove chairs if necessary --- as much is written - some are just having trouble
               finalizing.

               We agree that we want to publish it all at the same time. We think we can do that with some
               serious nudging.

               Yes I noted that you were green not dull brown. We will correct that!




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_019315




                                                              2
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 4 of 28




              Best,

              ■

              PS Sorry I missed you in Sweden!



              On Thu, Aug 19, 2021 at 12:09 PM                                                            wrote:

                  Dear

                  Thank you for the tracking of the SOC8 chapters document. It looks promising.

                  Have you decided on a final date for completion please?

                  If so, please let the me and the EC know and we can draft an e-mail to be sent to all SOC8
                  members asking them to complete. I think it would be a good idea to include the tracking of
                  SOC8 chapters document too.

                  I guess if relatively "less overall relevant" chapters like global applicability, eunuch, and
                  intersex are not ready, the SOC8 can be published without these; preferably not, but we
                  can't delay because of one or two weakest links in my opinion; and perhaps they can be
                  incorporated at a later stage.

                  One (very minor) point: I noted the Nonbinary chapter was in brown, should it not be in
                  green too?

                  Let's move this mission forward.

                  Thank you for all your hard work,

                  With warm wishes, and stay safe,




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                                                                3
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 5 of 28




                On 2021-08-19 17:54                wrote:

                 Please find enclosed information as to where we are with all our chapters, we could
                 include this in the email too if you want. I have cc       as the president so he can have
                 a good idea as to the current situations with all the chapters as he may need to be come
                 the "bad one" if they don't keep the time line.



                 Regards




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                                                            4
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 6 of 28




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CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                               BOEAL_WPATH_019318




                                                           5
      Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 7 of 28




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                      BOEAL_WPATH_019319



                                             6
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 8 of 28




                                  7
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 9 of 28




                                  8
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 10 of 28




                                  9
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 11 of 28




                                  10
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 12 of 28




                                  11
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 13 of 28




                                  12
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 14 of 28




                                  13
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 15 of 28




                                  14
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 16 of 28




                                  15
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 17 of 28




                                  16
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 18 of 28




                                  17
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 19 of 28




                                  18
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 20 of 28




                                  19
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 21 of 28




                                  20
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 22 of 28




                                  21
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 23 of 28




                                  22
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 24 of 28




                                  23
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 25 of 28




                                  24
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 26 of 28




                                  25
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 27 of 28




                                  26
Case 2:22-cv-00184-LCB-CWB Document 560-35 Filed 05/27/24 Page 28 of 28




                                  27
